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14
                         UNITED STATES DISTRICT COURT
15
                        CENTRAL DISTRICT OF CALIFORNIA
16
                       WESTERN DIVISION AT LOS ANGELES
17
     BROIDY CAPITAL MANAGEMENT LLC,
18   and ELLIOTT BROIDY                               Case No. 2:18-CV-02421-JFW-E
19                           Plaintiffs,              The Honorable John F. Walter
20         v.                                         MEMORANDUM IN
                                                      OPPOSITION TO PLAINTIFFS’
21   STATE OF QATAR, STONINGTON                       MOTION FOR THE COURT TO
     STRATEGIES LLC, NICOLAS D. MUZIN,                SOLICIT THE POSITION OF
22   GLOBAL RISK ADVISORS LLC, KEVIN                  THE UNITED STATES
     CHALKER, DAVID MARK POWELL,                      DEPARTMENT OF STATE
23   MOHAMMED BIN HAMAD BIN
     KHALIFA AL THANI, AHMED AL-
24   RUMAIHI, and DOES 1-10,
25                           Defendants.
26
                                               Hearing Date: August 27, 2018
27                                             Hearing Time: 1:30 p.m.
                                               Courtroom: 7A
28
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 1                                     INTRODUCTION
 2         Plaintiffs Broidy Capital Management LLC and Elliot Broidy (collectively
 3   “Plaintiffs”) have been aware since at least April 26, 2018 that Defendants Stonington
 4   Strategies LLC and Nicolas D. Muzin (collectively “the Stonington Defendants”)
 5   intended to assert derivative sovereign and diplomatic agent immunity in this case.
 6   But Plaintiffs waited until the Stonington Defendants moved to dismiss the case—
 7   three months after the issue was first raised—before moving for this Court to solicit
 8   the position of the State Department regarding these issues. Not only is Plaintiffs’
 9   position baseless—the State Department does not interpret the Foreign Sovereign
10   Immunities Act (“FSIA”), and it was already made aware of the Stonington
11   Defendants’ activities through FARA—this lag demonstrates that Plaintiffs’ motion
12   is nothing more than a delay tactic. The Court should deny it.
13                                     BACKGROUND
14        Plaintiffs have had numerous opportunities to move the Court to request the
15   State Department’s position on the immunity issues implicated in this case but have
16   failed to do so at every turn.
17         The Stonington Defendants first apprised Plaintiffs that they would raise
18   derivative sovereign and diplomatic agent immunity in their motion to dismiss and
19   motion to stay during an April 26, 2018 telephonic meet and confer. Dkt. 81-2, Ex.
20   4, at 2. At the time, Plaintiffs expressed no intention of asking the State Department
21   for its views on these topics. See generally id. Instead, the next day, Plaintiffs stated
22   that they would file an amended complaint to address the Stonington Defendants’
23   jurisdictional arguments. Dkt. 52 at 1. At a meet and confer on April 30, 2018, the
24   Stonington Defendants explicitly asked Plaintiffs how they would address the
25   apparently fatal jurisdictional aspects of their case. Id. at 1-2. Again, Plaintiffs made
26   no mention of the alleged relevance of the State Department’s views. Id.
27        On May 24, 2018, Plaintiffs filed their First Amended Complaint (“FAC”). Dkt.
28   47. Like its predecessor, the FAC failed to allege any facts that would overcome the

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 1   Stonington Defendants’ entitlement to derivative sovereign or diplomatic agent
 2   immunity. Plaintiffs again failed to give any indication that they believed the views
 3   of the State Department would be necessary to determine these immunity issues.
 4         On June 7, 2018, the Stonington Defendants filed their Motion to Stay the Case
 5   or in the Alternative Stay Discovery, which provided a more fulsome explanation of
 6   the Stonington Defendants’ entitlement to derivative sovereign and diplomatic agent
 7   immunity. Dkt. 81-1 at 14-21. In their Opposition, Plaintiffs once again failed even
 8   to suggest that the views of the State Department might be necessary. See Dkt. 89 at
 9   6-13. To the contrary, Plaintiffs opposed staying discovery on grounds that the
10   Stonington Defendants were not entitled to immunity, id., a position that contradicts
11   Plaintiffs’ current view that the State Department’s views are necessary.
12        In any event, Plaintiffs did not inform the Stonington Defendants that they
13   intended to file this motion until July 8, 2018. Even then, Plaintiffs suggested that
14   the scope of the request would be limited to the issues raised by Qatar, stating “[i]n
15   light of Qatar’s arguments that it is entitled to immunity . . . in part because of the
16   requirements of U.S. foreign policy and the needs of the Executive Branch to conduct
17   diplomacy, Plaintiffs intend to file a motion asking the Court to request a Statement
18   of Interest from the U.S. State Department.” Ex. A, A. Neuhardt Email of July 11,
19   2018. It was not until July 11, 2018 that Plaintiffs stated their intent to seek an opinion
20   from the State Department on the Stonington Defendants’ immunity. See id.
21         During a July 11, 2018 meet and confer on this motion, Plaintiffs stated—
22   without explanation—that they waited to raise this issue until the Stonington
23   Defendants filed their motion to dismiss. Dkt. 151 at 3. And although the motion
24   itself amounts to a concession that the Stonington Defendants’ immunity requires
25   careful consideration, Plaintiffs refused to stay discovery pending the issuance of a
26   State Department opinion. See id. On July 23, 2018—nearly three months after first
27   learning that the Stonington Defendants would be asserting their derivative sovereign
28   and diplomatic agent immunity—Plaintiffs filed this motion.

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 1                                      ARGUMENT
 2        The timing of this motion is revealing. Despite being aware of the immunity
 3   issues for months, Plaintiffs filed this motion just as the Court is about to rule on
 4   Qatar’s and the Stonington Defendants’ motions to dismiss, apparently hoping to
 5   postpone a decision on the motions—a statement from the State Department would
 6   take months to obtain—while they continue to seek discovery to assist them in the
 7   public relations campaign against the Stonington Defendants.         This transparent
 8   attempt by Plaintiffs to continue their abuse of the discovery process should be
 9   denied. And even if Plaintiffs’ request for a State Department motion had been
10   timely, there is no need for the Court to seek a statement of interest from the State
11   Department regarding the Stonington Defendant’s entitlement to either derivative
12   sovereign or diplomatic agent immunity. Dkt. 169-1 at 4.
13        A. The Court Need Not Defer to the Statement Department in Interpreting
14           the Scope of the FSIA or Derivative Sovereign Immunity.
15         Plaintiffs rely on Samantar v. Yousuf, 560 U.S. 305 (2010), in arguing that a
16   State Department opinion is necessary to evaluate the Stonington Defendants’
17   derivative sovereign immunity. Dkt. 169-1 at 4-5. But Samantar clearly stated that
18   the FSIA “transfer[red] primary responsibility for deciding ‘claims of foreign states
19   to immunity’ from the State Department to the courts.” Id. at 313. In other words,
20   Congress passed the FSIA, in part, to prevent the State Department from having to
21   address questions of foreign sovereign immunity. And Plaintiffs concede as much—
22   they are not requesting an opinion on Qatar’s immunity under the FSIA.             See
23   generally Dkt. 169-1.
24         Therefore, there is no basis for seeking a State Department opinion on the
25   Stonington Defendants’ derivative sovereign immunity, which applies to “the private
26   agents of foreign governments.” Butters v. Vance, 225 F.3d 462, 466 (4th Cir. 2000).
27   Pursuant to the doctrine, if a foreign state is immune under FSIA, its agents acting at
28   the sovereign’s direction have derivative immunity. Id. The relevant question for

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 1   establishing whether an agent is entitled to derivative sovereign immunity is whether
 2   the agent was following sovereign orders. See id. And as explained in detail in the
 3   Stonington Defendants’ Reply to their Motion to Dismiss, Samantar has nothing to
 4   do with derivative sovereign immunity. Dkt. 183 at 2-3.
 5         Here, Plaintiffs allege that the Stonington Defendants acted as Qatar’s agents
 6   at Qatar’s direction pursuant to a contract with Qatar. Dkt. 89 at 10 (citing FAC ¶ 3).
 7   Plaintiffs are thus derivatively immune from suit. Like Butters—where the State
 8   Department did not weigh in—there is no need for a State Department opinion here.
 9   Plaintiffs’ motion should be denied.
10        B. The Court Also Need Not Defer to the State Department in Interpreting
11            the Scope of Diplomatic Agent Immunity.
12         Plaintiffs likewise miss the mark in contending that the position of the State
13   Department is necessary here “since the immunity requested for U.S. lobbyists is
14   unprecedented.” Dkt. 169-1 at 5. In addition to derivative sovereign immunity—
15   which is a distinct basis for immunity—the Stonington Defendants also assert
16   diplomatic agent immunity. Dkt. 129-1 at 6-7. And as explained in the Stonington
17   Defendants’ Reply to their Motion to Dismiss, the State Department was made aware
18   of the Stonington Defendants’ diplomatic activities on behalf of Qatar through the
19   FARA registration process. Dkt. 183 at 5-6. Thus, there is no need to raise the issue
20   again with the State Department.
21         Moreover, contrary to Plaintiff’s assertion, diplomatic agent immunity is not a
22   “new ground [for immunity] which the government has not seen fit to recognize.”
23   Dkt. 169-1 at 5 (quoting Republic of Mexico v. Hoffman, 324 U.S. 30, 35 (1945)).
24   Rather, diplomatic agent immunity is entrenched in the American legal system. See
25   Vienna Convention on Diplomatic Relations (“VCDR”), Apr. 18, 1961, entered into
26   force with respect to the United States Dec. 13, 1972, 23 U.S.T. 3227. And Plaintiffs
27   distort State Department policy on diplomatic agent immunity when they contend that
28   the “State Department is clear that U.S. nationals . . . enjoy no personal inviolability

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 1   or jurisdictional immunity in the United States.” Dkt. 169-1 at 5. This policy does not
 2   extend to diplomatic agents like the Stonington Defendants. United State Department
 3   of State Office of Foreign Missions, Diplomatic and Consular Immunity: Guidance
 4   for   Law     Enforcement      and     Judicial    Authorities,    9    n.4    (2015),
 5   http://www.state.gov/documents/organization/150546.pdf (“A member of a mission,
 6   other than a diplomatic agent, permanently resident in the United States for purposes
 7   of Article 38(2) of the VCDR and Article 71(2) of the VCCR enjoys no privileges
 8   and immunities pursuant to the Vienna Conventions.” (citation omitted) (emphasis
 9   added)). There is thus also no need for a State Department opinion on the Stonington
10   Defendants’ diplomatic agent immunity.
11                                     CONCLUSION
12         For the foregoing reasons and those discussed in the Stonington Defendant’s
13   Reply in Further Support of the Motion to Dismiss, Dkt. 183 at 1-6, the Court should
14   deny Plaintiffs’ Motion for the Court to Solicit the Position of the United States
15   Department of State.
16
17   Dated: August 6, 2018                        Respectfully submitted,
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